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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

TOTAL REBUILD, INC., §

§ Civil Action No. 6:15-cv-01855-RFD-CBW
Plaintiff/Counterclaim-Defendant, §
§ JUDGE BRIAN A. JACKSON
VS.

§

§ JURY TRIAL DEMANDED
PHC FLUID POWER, L.L.C. §

§

§

§

Defendant/Counterclaim-Plaintiff.

 

PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
DEFENDANT’S MOTION TO STRIKE INFRINGEMENT CONTENTIONS

TOTAL opposes PHC’s Motion to Strike Total’s infringement contentions. Total has
never limited the term “high-pressure pneumatics testing equipment” to anything other than what
‘428 Patent describes. The pure reading of the ‘428 Patent clearly defines what the ‘428 Patent
claims encompass including what the system tests, how it tests, and the components that make the
‘428 Patent system operate. For this reason, “high-pressure pneumatics testing equipment” has
never before been disputed.' PHC’s motion is simply another attempt to misconstrue the plain and
ordinary meaning of the term “high-pressure pneumatics testing equipment.” The same argument
was already made in PHC’s Motion in Limine [Dkt 207]. Total said in its opposition, “Defendant’s
motions are pure gameship to narrow the language of the ‘428 Patent at the eleventh hour,

inappropriately constrict the meaning of “high-pressure pneumatics testing equipment,” and

 

* Until the filing of Defendant’s pending Motion in Limine {Dkt. 207 & 209], neither party had contested the
meaning of any portion of the claim term “a high-pressure pneumatics testing equipment located within said
housing”, nor raised any issue regarding its construction. As such the terms contained in such limitation must be
afforded their plain and ordinary meaning. Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).

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obviate the introduction of highly relevant evidence of Defendant’s infringement of the ‘428
Patent.” (Attached as Exhibit A).

Total’s contentions were not filed until December 2018 because PHC delayed inspections
by Total’s expert, Brian LaFleur. Until then, Total was unaware of PHC’s vent valve manifolds
and the fact that PHC had moved its pumps outside the bunker housing in a transparent attempt to
override the ‘428 Patent. PHC’s Motion to Strike should be denied for four reasons: First, Total’s
contentions were filed timely in accordance with both the Local Patent Rules of the Eastern District
of Texas (hereinafter “Local Patent Rules”) and the Joint Scheduling Order [Dkt 50]; second, the
only scheduling order entered in the record to this date is [Dkt 50] providing for discovery to end
180 days after the Court’s Claim Construction Ruling which has not yet taken place. (Attached as
Exhibit B); third, “high-pressure pneumatic testing equipment” must be given its plain and
ordinary meaning as understood based upon the specifications of the ‘428 Patent; and fourth,

striking Total’s contentions would unfairly prejudice Total’s claim.

A. Total’s Infringement Contentions have been timely filed.

Pursuant to Rule 3-1 (b) a party must identify devices of which its aware. Total was not
aware of PHC’s vent valve manifold, hose and hose racks, nor that PHC had isolated the pumps
outside the bunker housing until after the inspection. However, once aware Total supplemented its
contentions timely and in compliance with the Local Patent Rules.

The contentions are also timely under Joint Scheduling Order [Dkt. 50]. The Joint
Scheduling Order [Dkt. 50] provides the Parties deadlines to amend infringement contentions

should comply with Patent Rule 3-6(a).? Pursuant to Patent Rule 3-6(a)(1), a party may amend its

 

2 Exhibit A at 1.
3 Joint Scheduling Order [Dkt 50]: “COMPLY WITH PATENT RULES 3-6(A)- AMENDED INFRINGMENT CONTENTIONS:
Within 30 days after service of the Court’s Claim Construction Ruling [Patent Rules 3-6(a)]”

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infringement contentions in good faith not later than 30 days after service by the Court of its Claim
Construction Ruling.‘ To this date, the Court has not filed a Claim Construction Ruling. Total
believes the Claim Construction Ruling is to be held at the March 29", 2019 Marksman Hearing.

The Court should find Total has acted diligently in its efforts to provide accurate
information to PHC and has acted in accordance with both the Local Patent Rules and the Joint

Scheduling Order [Dkt. 50].

B. Claim Construction Ruling has not been filed. Discovery has not closed.

The Joint Scheduling Order [Dkt. 50] provides “PHASE I DISCOVERY DEADLINE: 180
days after the Court’s Claim Construction Ruling is filed.”> Being that the Courts Claim
Construction Ruling has not yet taken place, the discovery deadline has not passed.

Ata pretrial conference in August 2018, this Court requested an Amended Joint Scheduling
Order to be filed in connection with a Jury Trial to be held at the end of J anuary 2019. The Parties
filed a [Proposed] Amended Scheduling Order [Dkt 162] on October 22, 2018. To this date, the
[Proposed] Amended Scheduling Order has not been entered in the record. Furthermore, the
[Proposed] Amended Scheduling Order was prepared in connection with a J anuary 2019 trial date
that has now been continued. The Parties are bound by the Joint Scheduling Order [Dkt. 50] until

otherwise ordered.

 

* Patent Rule 3-6(a)(1): “If a party claiming patent infringement believes in good faith that the Court’s Claim
Construction Ruling so requires, not later than 30 days after service by the Court of its Claim Construction Ruling,
that party may serve “amended Infringement Contentions” without leave of court that amend its “Infringement
Contentions’ with respect to the information required by Patent R. 3-1(c) and (d).”

> Exhibit B at 2.
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C. “High-pressure pneumatic testing equipment” must be given its plain and ordinary
meaning as understood based upon the specifications of the ‘428 Patent.

Total has never limited the term “high-pressure pneumatics testing equipment.” Nothing
in the ‘428 Patent claims or specification limit the interpretation of the claim term “high-pressure
pneumatics testing equipment” to pumps alone or as testing equipment that has at least one air-
operated pump. PHC has only recently placed this term in dispute.

As provided for in Total’s opposition to PHC’s Motion in Limine, “Patent claims are part
of a fully integrated written instrument consisting principally of a specification that concludes
with the claims. Phillips v. AWH Corp., 425 F.3d 1303, 1315 (Fed. Cir. 2005). For that reason,
claims “must be read in view of the specification, of which they are a part.” Id. (quoting
Markman v. Westview Instruments, Inc., 52 F.3d 967, 978 (Fed. Cir. 1995), aff'd, 517 U.S. 370,
1168. Ct. 1384, 134 L. Ed. 2d 577 (1996).”° While there is a heavy presumption that claim
terms mean what they say and the Court is required to give full effect to the ordinary meaning of
those terms, this only applies when there is no compelling reason to do otherwise. Johnson
Worldwide Assocs. V. Zebco Corp., 175 F.3d 985, 989 (Fed. Cir. 1999; Texas Digital Sys. v.
Telegenix, Inc., 308 F.3d. 1193 (Fed. Cir. 2002). In this case there is a reason to look at the ‘428
Patent specifications to give meaning to the term.

PHC reliance on the dictionary for a definition of disputed term “high-pressure
pneumatics testing equipment” is inappropriate. The Court must first look to the intrinsic
evidence provided in the ‘428 Patent specifications. Other evidence, called extrinsic evidence, is
typically not needed or used to properly construe the claims. In fact, when the intrinsic evidence
is unambiguous, it is improper for the court to rely on extrinsic evidence such as a dictionary for

purposes of claim construction. Bell & Howell Doc. Mgmt. Prods. Co. v. Altek Sys., 132 F.3d

 

5 Exhibit A at 2
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701, 706 (Fed. Cir. 1997). In other words, “if the meaning of a disputed claim term is clear from
the intrinsic evidence ... that meaning and no other must prevail.” Scriptgen Pharm. v. 3-
Dimensional Pharm., Inc., 79 F. Supp. 2d 409, 411 (D. Del. 1999) (quoting Key Pharm. v.
Hercon Labs. Corp., 161 F.3d 709, 716 (Fed. Cir. 1998)).

The ‘428 Patent describes high pressure-testing equipment as being not only pumps, but
rather a plurality of various devices and types of high-pressure testing equipment. This is
reiterated in the ‘428 Patent specification which describes “the present invention for safely
pressure testing high-pressure devices and components of high-pressure equipment[sic] with
various fluids including air, nitrogen dioxide water and various types of oil.”’Additionally, the
‘428 Patent describes the contents of the stationary and portable embodiments as including “most
if not all associated pumps, plumbing, hoses, and bleed valves[.]”* As plainly and ordinarily
understood from the language of the ‘428 Patent, “high-pressure pneumatics testing equipment”
includes not only “pumps”, but rather all the different components of equipment which may be

used in testing with various fluids including air, nitrogen dioxide water and various types of oils.

D. Striking Total’s contentions would unfairly prejudice Total’s claim.

Total’s contentions have caused no harm to PHC. In addition to the ‘428 Patent clearly
defining “high-pressure pneumatics testing equipment”, discovery deadlines have not passed,
experts have not been deposed, and most importantly a Claim Construction Ruling has not been
filed. If anything, striking Total’s contentions would unfairly prejudice Total’s claim.

Under Fed. R. Evid. 401, evidence is relevant if it has “any tendency to make a fact more

or less probable than it would be without the evidence” and “the fact is of consequence in

 

7 [Dkt 1-4] at 2:41-44,
8 [Dkt 1-4] at 5:37-38,
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determining the action.” Total’s contentions are a result of discovery and specifically the
inspection of PHC’s devices. The contentions are directly correlated to all discovery in this suit
and are relevant to show PHC has multiple devices that infringe on the ‘428 Patent. Ifa jury is
unable to see all high-pressure components of PHC’s devices, it might improperly assume that
they are not high-pressure equipment. Exclusion of evidence would create an unfair advantage in
PHC’s favor and would unreasonably prejudice Total’s case. Fed. R. Evid. 403.

Since the filing of the caption suit, Total has been diligent in its efforts to supplement its
contentions as discovery progressed. Throughout this litigation, PHC has delayed, obfuscated,
and restricted Total’s access to usable discovery regarding PHC’s alleged infringing devices. As
a result, PHC’s conduct has significantly impacted Total’s ability to provide accurate
information regarding accused systems, particularly the opportunity for Total’s expert to inspect
PHC’s devices. The Court should find “high-pressure pneumatics testing equipment” must be
given its plain and ordinary meaning provided by the ‘428 Patent specifications and thus the
motion should be denied. Furthermore, because “high-pressure pneumatics testing” is clearly

defined there is no need to add the term to the March 29, 2019 Marksman Hearing.

Respectfully submitted,

/s/ Steven G. Durio
Steven G. Durio (#05230)
William W. Stagg (#1613)
Durio, McGoffin, Stagg & Ackermann, PC
220 Heymann Boulevard (70503)
Post Office Box 51308
Lafayette, Louisiana 70505-1308
Phone: (337) 233-0300
Fax: (337) 233-0694
Attorneys for Plaintiffs Total Rebuild, Inc.
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CERTIFICATE OF SERVICE
This is to certify that a true and correct copy of Plaintiff’s Memorandum in Opposition
To Defendant’s Motion to Strike Infringement Contentions was electronically filed with the

Clerk of the Court using the Cm/ECF system which sent a notice of electronic filing to counsel

as indicated by the Court.

Lafayette, Louisiana, this 20th day of March, 2019.

/s/ Steven G. Durio
